Case: 4:15-cv-01704-RWS Doc. #: 496 Filed: 04/30/21 Page: 1 of 6 PageID #: 18035




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


J.Y.C.C., et al.,                                     )
                                                      )
                Plaintiffs,                           )
                                                      )
        v.                                            )    No. 4:15-CV-1704-RWS
                                                      )
Doe Run Resources Corporation, et al.,                )
                                                      )
                Defendants.                           )


                              CASE MANAGEMENT ORDER NO. 11

    IT IS HEREBY ORDERED that the parties joint proposed amended case management

order [495] is adopted and the following case management deadlines will apply in this matter:


    I. SCHEDULING PLAN

        A.      Selection of the Initial Discovery Cohort

        Twenty-eight of the 120 initial trial pool Plaintiffs will be included in the initial discovery

cohort; Plaintiffs shall choose 14 and Defendants shall choose 14. Plaintiffs have already made

their initial 14 Initial Discovery Cohort Selections. Defendants must notify the Court and opposing

counsel of their selected Plaintiffs by May 28, 2021. Those Plaintiffs must answer interrogatories

and produce documents by August 2, 2021.

        Plaintiffs will produce neuropsychology and pediatric expert findings for the 14 Initial

Discovery Cohort Plaintiffs selected by Plaintiffs by May 28, 2021. Plaintiffs will produce

neuropsychology and pediatric expert findings for the 14 Initial Discovery Cohort Plaintiffs

selected by Defendants by August 6, 2021. Depositions of Initial Discovery Cohort Plaintiffs,

family members, and caregivers will begin August 9, 2021. The process regarding depositions of
Case: 4:15-cv-01704-RWS Doc. #: 496 Filed: 04/30/21 Page: 2 of 6 PageID #: 18036




Non-Discovery Cohort Plaintiffs will be established by the Court at a later date. Fact discovery

for the Initial Discovery Cohort Plaintiffs ends December 29, 2021.

         B. Selection of the Initial Expert Discovery Cohort

         The parties agree that two weeks after the completion of fact discovery, the parties will

narrow the pool of Initial Discovery Cohort Plaintiffs down to 16 for expert discovery (the “Initial

Expert Discovery Cohort”). Plaintiffs shall choose eight and Defendants shall choose eight.

         Plaintiffs must notify the Court and opposing counsel of their selections by no later than

January 14, 2022, two weeks upon conclusion of discovery with respect to the Initial Discovery

Cohort. Defendants must notify the Court and opposing counsel of their selections by no later

than January 21, 2022.

     II.    OTHER PRE-TRIAL DEADLINES


 Event                              Deadline

 Referral to Alternative            30 days after ruling
 Dispute Resolution                 on dispositive and
                                    Daubert motions.
 Completion of ADR                  90 days after ADR
                                    referral deadline.
 Plaintiffs’ deadline to         February 18, 2022
 designate all merits experts
 and provide opposing counsel
 and any pro se parties with all
 information specified in Fed.
 R. Civ. P. 26(a)(2)

 The parties shall meet and         March 2, 2022
 confer to set a schedule by
 which these expert
 depositions shall be
 conducted.


                                                 2
Case: 4:15-cv-01704-RWS Doc. #: 496 Filed: 04/30/21 Page: 3 of 6 PageID #: 18037




 Event                               Deadline

 If the parties are unable to   March 2, 2022
 reach an agreement, they
 shall notify the Court in
 writing, and report the nature
 of the dispute. The report
 must include the names of
 each expert and the
 exclusionary dates, so the
 Court may set a final schedule
 at the conference.

 Plaintiffs shall make their         March 4, 2022
 expert witnesses available for
 deposition

 Depositions of Plaintiffs’          May 6, 2022
 expert witnesses will be
 completed.

 Defendants shall notify             May 16, 2022
 Plaintiffs of the identity of the
 Rule 35 examiners and the
 scope of the examinations.

 Any objections to the scope of      May 27, 2022
 the examinations shall be
 made to the Defendants.

 If the parties are unable to        June 1, 2022
 reach an agreement as to the
 scope of the Rule 35
 examinations, they shall
 notify the Court in writing,
 and report the nature of the
 dispute.

 Plaintiffs shall make Expert        June 13, 2022
 Discovery Cohort Plaintiffs
 available for IMEs



                                                    3
Case: 4:15-cv-01704-RWS Doc. #: 496 Filed: 04/30/21 Page: 4 of 6 PageID #: 18038




 Event                          Deadline

 IMEs of Expert Discovery       September 16, 2022
 Cohort Plaintiffs will be
 completed

 Defendants’ deadline to        November 16, 2022
 designate all merits experts
 and provide opposing
 counsel and any pro se
 parties with all information
 specified in
 Fed. R. Civ. P. 26(a)(2)

 The parties shall meet and     November 23, 2022
 confer to set a schedule by
 which these expert
 depositions shall be
 conducted.

 If the parties are unable to   November 23, 2022
 reach an agreement, they
 shall notify the Court in
 writing, and report the
 nature of the dispute. The
 report must include the
 names of each expert and the
 exclusionary dates, so the
 Court may set a final
 schedule at the conference.

 Defendants shall make their    December 7, 2022
 expert witnesses available for
 depositions

 Depositions of Defendants’     February 20, 2023
 expert witnesses will be
 completed.




                                           4
Case: 4:15-cv-01704-RWS Doc. #: 496 Filed: 04/30/21 Page: 5 of 6 PageID #: 18039




 Event                           Deadline

 Plaintiffs’ deadline to         February 27, 2022
 designate all rebuttal expert
 witnesses and provide their
 reports

 The parties shall meet and      March 10, 2023
 confer to set a schedule by
 which these expert
 depositions shall be
 conducted.

 If the parties are unable to    March 10, 2023
 reach an agreement, they
 shall notify the Court in
 writing, and report the
 nature of the dispute. The
 report must include the
 names of each expert and
 any exclusionary dates, so
 the Court may set a final
 schedule at the conference.

 Plaintiffs shall make any       March 20, 2023
 rebuttal expert witnesses
 available for depositions.

 Deadline to complete            April 21, 2023
 depositions of Plaintiffs’
 rebuttal experts

 Close of expert discovery       April 21, 2023

 Deadline to file dispositive    June 9, 2023
 motions

 Deadline to file Motions to     June 9, 2023
 Limit or Exclude Expert
 Testimony

 Deadline to file responses to   July 21, 2023
 any dispositive motions


                                             5
Case: 4:15-cv-01704-RWS Doc. #: 496 Filed: 04/30/21 Page: 6 of 6 PageID #: 18040




 Event                               Deadline

 Deadline to file responses to       July 21, 2023
 Motions to Limit or Exclude
 Expert Testimony

 Deadline to file replies in         August 18, 2023
 support of any dispositive
 motions

 Deadline to file replies in         August 18, 2023
 further support of Motions
 to Limit or Exclude Expert
 Testimony


    III. TRIAL DEADLINES
        Pre-trial and trial-related deadlines will be set by further order of the Court after the

completion of briefing on dispositive and other pre-trial motions.



   IV. STATUS CONFERENCES

         The Court shall hold regular status conferences on dates to be established by the parties in

consultation with the Court. Unless otherwise ordered above, one week before each conference,

counsel shall file a joint status report informing the Court of any matters that should be discussed

at the conference.




                                                _________________________________________
                                                RODNEY W. SIPPEL
                                                UNITED STATES DISTRICT JUDGE

Dated this 30th day of April, 2021.




                                                  6
